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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF CALIFORNIA



RALPH COLEMAN, et al.
    Plaintiffs,

       vs.                                                   No. CIV S-90-0520 KJM DB P

EDMUND G. BROWN, et al.
    Defendants


                     SPECIAL MASTER'S REPORT ON
   HIS EXPERT'S SECOND RE-AUDIT AND UPDATE ON SUICIDE PREVENTION
     PRACTICES IN THE PRISONS OF THE CALIFORNIA DEPARTMENT OF
                  CORRECTIONS AND REHABILITATION


       This report by the Coleman Special Master accompanies his expert Lindsay Hayes'

Report, "A Second Re-Audit and Update on Suicide Prevention Practices in the Prisons of the

California Department of Corrections and Rehabilitation (CDCR)." Mr. Hayes' report is a

follow-up to his second report to the Special Master and the Court on suicide prevention

practices in CDCR prisons, "A Re-Audit of Suicide Prevention Practices in the Prisons of the

California Department of Corrections and Rehabilitation," filed on January 13, 2016 (ECF 5396).

These reports are submitted as part of the Special Master's continuing review of the Defendants'

compliance with court-ordered remediation in this matter.

       In his preceding report, “Special Master’s Report on His Expert’s Re-Audit and Update

on Suicide Prevention Practices in the Prisons of the California Department of Corrections and

Rehabilitation” (ECF 5395), the Special Master provided a brief historical outline of the efforts

which led to the current report.

               The origin of these reports is found in this Court's order of July 12, 2013,
               directing the establishment of the Suicide Prevention Management Workgroup

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                 (SPMW), made up of representatives of the Coleman parties and working under
                 the guidance of the Special Master to address and resolve the problem of
                 persistently elevated rates of suicide among inmates housed in CDCR prisons.
                 (ECF 4693)

                 The SPMW was organized and held its first meeting on July 31, 2013. Early on,
                 its members concluded that they required an expert assessment of current suicide
                 prevention practices in CDCR prisons. As a result, with the agreement and
                 consent of the parties and on the Special Master's recommendation, Mr. Hayes
                 was appointed as an expert by the Coleman Court to the Special Master's staff on
                 October 10, 2013 to assist with addressing issues surrounding prevention of
                 inmate suicides. (ECF 4857). Mr. Hayes is a nationally-recognized expert in the
                 field of suicide prevention in the correctional setting, currently serving as the
                 Project Director for the National Center on Institutions and Alternatives while
                 continuing his ongoing suicide-prevention work across the United States and his
                 publication of numerous professional books and articles on the subject.

                 Mr. Hayes' initial audit began on November 12, 2013 and concluded on July 24,
                 2014, covering all 34 CDCR prisons. It resulted in his comprehensive initial audit
                 report containing 32 specified recommendations, ‘An Audit of Suicide Prevention
                 Practices in the Prisons of the California Department of Corrections,’ filed on
                 January 14, 2015 (ECF 5259). On February 3, 2015, the Coleman court directed
                 the Defendants to adopt the recommendations in that report and to work with the
                 Special Master in the SPMW, and otherwise as may be necessary, on the
                 development of strategies and the implementation of the changes and practices
                 contained in those recommendations. In the same order, the Court also directed
                 the Special Master to provide an update to the Court on Defendants' progress in
                 implementing suicide prevention policies and practices. (ECF 5271)

          Mr. Hayes’ first re-audit began on February 4, 2015 and concluded on July 24, 2015,

covering 18 prisons. His resulting report, "A Re-Audit of Suicide Prevention Practices in the

Prisons of the California Department of Corrections and Rehabilitation," filed January 13, 2016

(ECF 5396), included a recommendation that there be a further re-audit of those prisons which

chronically struggled with their suicide prevention programs, as well as almost all prisons that

contained MHCB units. On April 4, 2016, the Coleman Court adopted Mr. Hayes’ report in full.

(ECF 5429) The report filed herewith is submitted as an update to Mr. Hayes’ January 13, 2016

report.




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         For his second re-audit, Mr. Hayes selected 23 prisons based on the criteria outlined

above. Like Mr. Hayes' previous audits, his second re-audit consisted of both on-site

institutional inspections and reviews of inmate suicide case files from the selected institutions.

The second re-audit began on February 23, 2016 and concluded on November 9, 2016.

         On June 26, 2017, Mr. Hayes’ second re-audit report was distributed in draft form to the

Coleman parties for comment and/or objections to be submitted to the Special Master no later

than 30 days thereafter. On July 26, 2017, Coleman plaintiffs’ counsel timely submitted their

written response to the Special Master. It offered comments on the second re-audit report, and

no objections. Defendants did not submit objections or comments to the draft report.

         At the time of the writing of Mr. Hayes’ first re-audit report, further discussion on three

of the initial 32 recommendations had been postponed for six months and therefore remained

unresolved. Recommendations 14, 15, and 161 related to the use of suicide-resistant cells for

newly-admitted inmates in administrative segregation. Subsequently, as the SPMW continued

its work, discussions on those recommendations recommenced. As outlined in his second re-

audit report, following a review of provided data, as well as careful consideration of additional

factors, Mr. Hayes determined that Recommendations 14, 15 and 16 were no longer warranted.

Accordingly, on page seven of his report, Mr. Hayes recommends the withdrawal of all three

recommendations.




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 Recommendation 14: Any inmate discharged from suicide observation status and arriving in administrative
segregation from either an MHCB or alternative housing should be initially housed in a suicide-resistant, retrofitted
cell until such time as recommended by the mental health clinician as part of an individual treatment plan;
Recommendation 15: Newly admitted administrative segregation inmates should not be considered protected from
suicide risk by being double-celled. They should be placed in suicide-resistant, retrofitted cells; Recommendation
16: Based on current data indicating that risk of suicide in administrative segregation extends well beyond the first
72 hours there, CDCR, under the guidance of the Special Master, should study and determine a more appropriate
and effective minimum length of stay in suicide-resistant retrofitted cells for newly admitted inmates.

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       In their submitted comments to Mr. Hayes’ second re-audit report, Plaintiffs noted the

possibility that the balance of factors supporting Mr. Hayes’ withdrawal of the recommendations

could change. In view of this, Plaintiffs requested that Mr. Hayes revisit the three

recommendations should future data and analysis support reconsideration.

       Based upon the reasoning set forth in his second re-audit report, the Special Master

concurs with Mr. Hayes’ recommendation. Accordingly, the Special Master requests that the

Court adopt the recommendation and modify the February 3, 2015 court order (ECF 5271) to

reflect the withdrawal of Recommendations 14, 15 and 16 from the 32 recommendations

contained in Mr. Hayes’ initial audit report.

        On page 21 of his second re-audit report, Mr. Hayes recommends that Defendants

continue their efforts to fully implement the remaining 29 recommendations from his initial audit

report (ECF 5259), as well as develop corrective action plans based upon deficiencies found in

his most recent assessment. The Special Master is in full agreement with Mr. Hayes’

recommendations, continues to recognize the value of the work accomplished by the SPMW, and

appreciates Defendants’ ongoing efforts to implement Mr. Hayes’ initial recommendations.

       On page 23 of his second re-audit report, and as in previous reports, Mr. Hayes proposes

a further re-audit of those prisons which chronically struggle with their suicide prevention

programs. This would (a) promote the continued provision of technical assistance related to

efforts surrounding suicide prevention practices, (b) provide a means for measurement of the

sustainability of Defendants’ corrective actions and the efficacy of CDCR’s Continuous Quality

Improvement process as it relates to suicide prevention, and (c) possibly result in the continued

reduction of the number of and rate of inmate suicides throughout CDCR prisons.




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       The Special Master also agrees with Mr. Hayes' recommendation that he re-inspect those

prisons described in the foregoing paragraph. Accordingly, such further re-inspections have

already begun in order to serve the interests indicated above and continue toward the goal of

reducing the number and rate of inmate suicides in CDCR prisons.

       As the Special Master previously reported, the amount and significance of the work that

has been done by the SPMW and Mr. Hayes to reduce suicides in CDCR prisons has been

considerable. The work that remains to be done should continue to completion.

       In view of all of the foregoing, the Special Master requests:

       (1) That the Court adopt the recommendation to withdraw Recommendations 14, 15, and

16 and modify the February 3, 2015 court order (ECF 5271) to reflect their withdrawal from the

32 recommendations contained in Mr. Hayes’ initial audit report;

       (2) That the Court order Defendants to continue to implement the remaining 29 initial

recommendations and develop corrective action plans based upon deficiencies found in Mr.

Hayes’ most recent assessment; and

       (3) That the Court order the Special Master to provide an update report to the Court on

the status of Defendants’ continued implementation of the initial recommendations and the

development of related corrective action plans.



                                                            Respectfully submitted,

                                                                       /s/

                                                            Matthew A. Lopes, Jr., Esq.
                                                            Special Master



September 7, 2017

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